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       In the United States Court of Federal Claims
                                         No. 16-840C
                                   (Filed: March 19, 2019)

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                                              *
BITMANAGEMENT SOFTWARE                        *
GMBH,                                         *
                                              *
                      Plaintiff,              *
                                              *
              v.                              *
                                              *
THE UNITED STATES,                            *
                                              *
                      Defendant.              *
                                              *
************************************

                                          ORDER

       On March 12, 2019, the Government filed a Motion for Authorization of Service
of Subpoenas More than 100 Miles from the Place of Trial, ECF No. 61. The Court
hereby GRANTS this motion and authorizes the issuance of subpoenas to compel the
following witnesses to travel more than 100 miles to testify at trial in Washington, DC:

   1. Dean McCarns
      11535 Poplar Ridge Road
      North Chesterfield, Virginia

   2. David Colleen
      4600 Smith Grade Road
      Bonny Doon, California 95060


       IT IS SO ORDERED.

                                                             s/ Edward J. Damich
                                                             EDWARD J. DAMICH
                                                             Senior Judge
